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                                                 Ari B. Teman
                                                                                                           April 21, 2022
                                                                                                          Nissan 20, 5782
                                                                                                   Chol Hamoed, Passover

The Honorable Paul A. Engelmayer
District Judge
Southern District of New York
40 Foley Square,
New York, NY

Re:     Notice: Placing Jan 10, 2020 formerly sealed hearing on the docket

Defendant places the five previously-sealed pages of the January 10, 2020 robing-room hearing onto the docket, attached
hereto.

Respectfully submitted,




Ari Teman
Defendant, Pro Se
